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                       IN THE UNITED STATES DISTRICT COURT
                      FOR THE WESTERN DISTRICT OF WISCONSIN

 TITUS HENDERSON,

         Plaintiff,                                                     ORDER
 v.
                                                               Case No. 21-cv-598-jdp
 DYLAN RADTKE, et al.

         Defendants.


        On October 1, 2021, the court entered an order giving plaintiff Titus Henderson until

October 22, 2021, to submit either the $402 filing fee or a certified copy of plaintiff’s inmate

trust fund account statement (or institutional equivalent) for the six-month period immediately

preceding the filing of the complaint in support a request to proceed without prepayment of

the filing fee.

        Now plaintiff has filed a motion for reconsideration and a motion to waive the partial

filing fee because he says that he is indigent and was found to be indigent in previous cases.

Attached to plaintiff’s motion for reconsideration is an interview/information request that

shows on September 8, 2021, plaintiff was approved for a $100 legal loan. However, plaintiff

does not submit any evidence to show his present indigency status or that he attempted to

obtain a copy of his six-month trust fund statement with his legal loan. Accordingly, I will give

plaintiff a deadline to provide a trust fund account statement for the six-month period

immediately preceding the filing of the complaint. If by December 1, 2021, plaintiff is unable

to obtain a six-month trust fund account statement, plaintiff should submit documentation

that shows the efforts he has taken to obtain the six-month account statement.




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                                            ORDER

        IT IS ORDERED that:

       1. Plaintiff Titus Henderson’s motion to waive the partial filing fee in this case,

dkt. 3, and motion for reconsideration, dkt. 4, are DENIED without prejudice.

       2. Plaintiff may have until December 1, 2021, to submit a certified trust fund account

statement for the period beginning approximately March 22, 2021 and ending approximately

September 22, 2021 or show cause for failure to do so. If, by December 1, 2021, plaintiff fails

to respond to this order, this case will remain closed.




               Entered this 10th day of November, 2021.

                                     BY THE COURT:


                                     /s/
                                     PETER OPPENEER
                                     Magistrate Judge




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